                                             Case 2:19-cv-00239-GMS Document 18 Filed 06/25/19 Page 1 of 2



                                       1   Gregory B. Collins (#023158)
                                           Zach R. Fort (#031643)
                                       2
                                           KERCSMAR & FELTUS PLLC
                                       3   7150 East Camelback Road, Suite 285
                                           Scottsdale, Arizona 85251
                                       4   Telephone: (480) 421-1001
                                       5   Facsimile: (480) 421-1002
                                           gbc@kflawaz.com
                                       6   zrf@kflawaz.com
                                       7
                                           Attorneys for Plaintiff
                                       8
                                       9                       IN THE UNITED STATES DISTRICT COURT
                                      10                             FOR THE DISTRICT OF ARIZONA
                                      11
7150 East Camelback Road, Suite 285




                                      12   Ronald H. Pratte,                                Case No. 2:19-cv-00239-PHX-GMS
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13                        Plaintiff,                  NOTICE OF SERVICE OF WRITTEN
                                                                                            DISCOVERY
           (480) 421-1001




                                      14
                                           vs.
                                      15
                                           Jeffrey Bardwell and Fanny F. Bardwell,
                                      16   husband and wife,
                                      17                        Defendants.
                                      18
                                      19          Pursuant to LRCiv 5.2, Plaintiff Ronald H. Pratte gives notice that, on June 25,
                                      20   2019, he served Plaintiff’s First Set of Requests for Production to Defendant Jeffrey
                                      21   Bardwell and Plaintiff’s First Set of Interrogatories to Defendant Jeffrey Bardwell by
                                      22   U.S. Mail and Email on the following:
                                      23
                                           Thomas M. Connelly                            Thomas J. Marlowe
                                      24   LAW OFFICES OF THOMAS M.                      LAW OFFICES OF THOMAS J.
                                           CONNELLY                                      MARLOWE
                                      25   2425 East Camelback Road, Suite 880           2425 East Camelback Road, Suite 880
                                      26   Phoenix, Arizona 85016                        Phoenix, Arizona 85016
                                           Phone: (602) 957-1993                         Phone: (602) 957-1993
                                      27   Facsimile: (602) 957-2137                     Facsimile: (602) 957-2137
                                           Tconnelly2425@aol.com                         Tmarlowe2425@outlook.com
                                      28

                                                                                     1
                                              Case 2:19-cv-00239-GMS Document 18 Filed 06/25/19 Page 2 of 2



                                       1
                                       2          DATED this 25th day of June, 2019

                                       3
                                                                              KERCSMAR & FELTUS PLLC
                                       4
                                       5                                 By: s/ Zach Fort
                                                                             Gregory B. Collins
                                       6
                                                                             Zach R. Fort
                                       7                                     7150 East Camelback Road, Suite 285
                                                                             Scottsdale, Arizona 85251
                                       8                                     Attorneys for Plaintiff
                                       9
                                      10
                                      11
7150 East Camelback Road, Suite 285




                                      12                          CERTIFICATE OF SERVICE
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13        I certify that on June 25, 2019, I electronically transmitted the foregoing to the
                                           Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
           (480) 421-1001




                                      14
                                           Electronic Filing to the following:
                                      15
                                      16   Thomas M. Connelly
                                           LAW OFFICES OF THOMAS M. CONNELLY
                                      17   2425 East Camelback Road, Suite 880
                                           Phoenix, Arizona 85016
                                      18   Phone: (602) 957-1993
                                           Facsimile: (602) 957-2137
                                      19
                                           Tconnelly2425@aol.com
                                      20
                                           Thomas J. Marlowe
                                      21   LAW OFFICES OF THOMAS J. MARLOWE
                                           2425 East Camelback Road, Suite 880
                                      22   Phoenix, Arizona 85016
                                           Phone: (602) 957-1993
                                      23
                                           Facsimile: (602) 957-2137
                                      24   Tmarlowe2425@outlook.com

                                      25   Attorneys for Defendants
                                      26
                                      27   s/ Mary Ann Bautista
                                      28

                                                                                   2
